Page 1 of 26

Filed 04/01/10

6-4
Case 1:07-cv-01205-LG-RHW Document 34

fod 404 SOYSNE LAYS

| ‘Jauosyad
we ‘OOP SY} sABWEP OF NIIP SJOW ren venue.
{Is & Moy SMOYsS BUB[OsSHg UAJFIA HUeUS

¥ a wy

l

a

the

4 a # 1 ” ge Fat

2SN 10] aseqeEp eis B 0} a
37 Pjnom te~ wajsfs asequyep
HEOYJO-aJe}s eB se o8e sTea fi
WeAass PIN} Yoao1g waysse"

. payewoyny Hddississyyy wor
6T§ 2) Jo ino [nd O} papioap «
od Indy Ul yom payer pure
Surdaey-piooas SMeqo[a Wit
[Zap 0) pejs ASojouysay oreur-
AOFM ue pany osye BuaYs ayy

‘ples
BIEJOSLIG ,,‘apeoap Se] Oy) wr
DaJoHO SEM Ue Iead ised ay

UT Sule asow pey a4 ABqL,
‘AES 0) dt] sazemoons
osealoul Aed ayy pue pean sayy

§[00] 3t) sraopyo 34] Saaid Sur

“WED [euonIppe pres BIEJOSUg

« TOS B OOO'OES SI
MOU ded Sureys PUL ‘pepsau
am aldoad Jo Jaqiyes ay yas

0} Usnous 1USPM Jy ‘read z

000°¢Z§ 18 yno Peiejs sapref

2 ‘Fueys aUeIeq | TOUM,,

‘STSOGJO SUONDALIOD sOy Buy

“UIE, paseaiouy pue Soster Aed
SE ons sagtreys payroddns DAEY
Stosluadns <umo9 pres OSE OF]
‘S66T 99UIs sjusmaAoId

“UI SYBUI 0} Japso ymop [esa
“P2y 8 Japun.usaq sey pref ayy,
9008 Ut Japrel e Aq “af sureng ay
a7 assaf aJELUUL Jo Suneaq
Tez at) oyuy UOHBSYSaAUT ue
peyauney Jusutaags felapay
84). SUIS au Is.ny aq} Joy
Weak Sy] pref aug SUUISTA st
Weurpredaq PHS ‘Sp ayy,

eT

r-F Mod panunuo5

[ies

Page 2 of 26

Filed 04/01/10

Case 1:07-cv-01205-LG-RHW Document 346-4

L-V ‘leg aas asoapy

“ples Fiays

ayy ‘aoeld oy ind Sinaq Mou are yer] , jy

suognjos argissod puessuts|qose But a
“oTou uegaq ‘song Yoo) BIe[OSUg
alofeq palit ‘eueqe’) wad UepIeA,
a ‘spaq
OST 9% OOT dn aay pines yey, ‘pres
BIE[OSUg ‘sysoo SuTsnoy pue seug
dat go Aad 0) FuppIOM. apy Ja]99
UOQNIYss1 B Woy Weueq pres oy
siapuayo wepolauoU ase [el ay ye
saeuy jo queosed GT 0} OT Noqy
_ AN paxsor
aq 9 paau Olja s[etyutt. 1D ‘-e-peq au]
JO} aLqEyleae gonds ay] paell aA,
“ples Bieposlig: ,Ja}sey ref yJo yno pue
uy ajdoad aaoul sn dyoy 0} per Ayan
poylom savy saspn{ Limo sonsn{,
"SASED ISU] Ul SSULESY IF pel.
-UTIGD at] 0} HO! yysnorq Apuenboxy

ar

cr take etd bh 2: = Sa ui

‘sup unt m ee Buiaguat A juan. uno bdsiien, Pu seMao'D SUL

*e

eee

‘ote ious SOJBUTUE aJE]S JO SAEIS BU

eztunran cay oy sasphf yey ym
fo « 0} aSuayqeyo eB pansst os[e ay

att +, “pres ay, 14st ye
at ya autos Agi] pue Burmiouwr ay.
U1.316M 0} 08:0] JNO uraty Pl nox,

“Burges 3[AIS
|- AIO }MUOP ‘TeIttoUOIa SIO e UT afd
-oad QT ynoqe Joy sayue> voRNNnse1

fo Jiueus Auneg uosIUe}
‘BIB]OSUG UAV]
adn payooy a1,fayy J! SauYy
- Hayy Aed 10 qof e daay Aayy
LED MOP “SAdpPUajjo JUI]OJA.
yim dn payao] 8q 0} paau
4,u0p-seuy. Sipe} amo Jeu}
goose pue, Squrnp ongnd,,

ut

indee: pue fyb 410} sia0p 129

saa

2 O] paplaauod aq Ajises pinds 19]039
Yom plo S$ TLays au} ples eseposiig
"BIEOSIIG Pres ,,"plemloy IA0Ur
UED SM alOjaq JOH aaam yeyan dn XT
0] 108 94,04 jnq,, ‘aoeds a10uI ppe Oo}
APOET Pag-Oog eB pynq oj jeaosdde
Joy durysnd apnpout suejd aanjny
dan payso] a4,faty J souy
tay] Sed 10 cof 2 daay Ady) Wed MOH
‘SIapUayo JUspOIA a dn paso] oq
0} peel 1 UOp sau JUFe. 90 1eIy
ajdoad pue syUnNIp ayqngd “wet)
OSNOY O} BAISUI]UT JOqeR] Sqr pue
[ef Ww ssapuaygo Jouesweapstur sun
3nd Aq Jury e Sued st Apogeon,,
ABM SIL] ANUYUOS 71,UeBD
}i pue, ‘ples eye[Ostiq _ ,'1o]su0w
B payear sey AjuNog wosLiey,,
"SUI99U09 JOEL SAY
jo auO SI SuIpMosoraao ‘MOU 10g
‘sadeosa Jajap daly
0] Jajauwtiad yref au) punose w9]sds
ALMIgs & PUE SIT] [[eISU 0} sued
OS]e FLIIYS Sy, WaysAs Bulpooo pue
Suyesy FuwoyOuNew pur jool Sul
“YEO 9U} Souder 0] suid are alay
‘JTUOYS SP Ul WIOMS SBM BIe[OSIIG
Waljs UaHO1g atom $490] JY} JO jue.
-Iad 9g ynoqy ‘sure[qoid Alnsas Je
Ao pue $390] L00P-[[a9 Wayo1g aoe
01 0] paLeys uaaq sey joaloid eB pue
Q00Z Ul payoesa ssmrpymq Aretoduray
Ul pasnoy ale sjUBpUajap JoUvauIap
SI “ABPSOUpa MA SPELL 9G6 Play
“SayEWIUL 09/, BSNOyY OF ING ‘Tel ayy
‘goo ul 1ead Jsiy sty SuLMp pref ayy
ye sWafqoid panuyuos pue suet
-Yysydiioao8 yo prelapy ung ay? ploy
ay Se apt ayy payoyid elejosiig
‘Jajuay) uoHUajay ynpy
AyuNeD vostirpy ayy je ZuIpmoo
-I940 asea daly 6} Jajuas vost
B SUIpUsWWOIaI ‘AepsaupaA, pres
BIB{OSLIG UlAfayA] PLIays ‘syuepusy
Bp IOURBAWIepsiw 10; ade7d ou st jel
AYN SSS UNUXEL Y — 1HOds Id

o TAA MD Prine ANIA A UCL

pbunhHerald.com : t ape SnNOwWS \WasSton knew Al-K NII aller he demes IT
Case 1:07-cv-01205-LG-RHW Document 346-4 Filed 04/01/10

rage 1 orl
Page 3 of 26

z

{eRe ‘ speed ontt

Posted an Wed, Aug. 15, 2007

Tape shows Gaston knew Al-Khidir after
he denies it

By ROBIN FITZGERALD
After attomeys for James Ricky "Rick" Gaston rested their case, the federal
government this afternoon offered a rebuttal with incriminating evidence
against him.

While Gaston was on the witness stand, he testified that he was not aware
that inmate Only Al-Khidir had been abused and did not see a picture of
him that numerous officers said they viewed on a computer at the jail and
on pictures posted around the booking area.

The government put Special Agent Joel Wallace, of the Misslssippi Bureau
of Investigations, on the witness stand and he narrated a videotaped
recording and identified two different people who visited with the sheet-
covered inmate afterward.

Wallace said the two are Capt. Steve Campbell, who ran the professional
standards unit, and Gaston, who was captain over the booking room.

U.S. District Judge Louis Guirola Jr. meets this evening with the attorneys
to discuss jury instructions. The judge will go over instructions with the
attomeys in open court Thursday at 9 a.m.

The jury was dismissed for the evening and was told to retum at 10 a.m.
The trial has been under way since Aug. 6. Teel and Gaston are accused
of conspiring to deprive inmates rights through unnecessary force and
coverups.

The Sun Herald fs in Hattiesburg covering the iria!. Check sunherald.com

Taxt Size; 2 5

for updates on the trial and in Thursday's print editions for Tull coverage.

http://www.sunherald.com/388/v-pnnt/story/121073.html

3/10/2009
SunHerald. Geom Coon SEES TAPE OF FA'TAL BEATING
Case 1:07-cv-01205-LG-RHW Document 346-4 Filed 04/01/10

Page 1 ol Z
Page 4 of 26

—

fis

Posted on Fri, Aug. 10, 2007

COURT SEES TAPE OF FATAL BEATING

By AOBIN FITZGERALD

Thureday, Mar 12. 2000

The silent drama of the videotaped fatal beating of inmate Jessie Lee
Williams Jr. played out for the first time in public view in a federal courtroam
Thursday.
Raised eyebrows and a few soft gasps formed the backdrop for the somber
occasion - the trial of two former Harrison County jailers, including the one
accused of torturous acts resulting In Williams’ death. Prosecutors showed
the tape on the third day of trial for former Harrison County Sheriffs Sgt.
Ryan Michael Tee! and his supervisor at the time, Capt. James Ricky
“Rick” Gaston. U.S. District Judge Louis Guirola has kept the tape under
seal and said Thursday it will remaln so until the trial has ended.
The tape answered some questions lingering since the incident Feb. 4,

~ 2008. It clearly ty shows Williams - with hands cuffed behind his back while
waiting to be booked in at a counter - leaning back to dodge an obvious
kick from an officer identified by witnesses as former Sheriff's Sgt. Teel.
And that was only the beginning.
Williams lunged at Teel after the kick, and a series of assaults followed
while Williams remained cuffed and, according to witnesses, no threat to
anyone,
Willams was kicked, punched, shot with a Taser, hog-tied, carried like a
‘suitcase and dropped head first. The punching continued as he was
strapped to a restraint chair and pepper-spray was spewed in his face
through a spit mask.

Text Size: &

attomey occasionally and took notes as the tape was played.

The family of Williams, the father of six, had not been allowed to view the
video until it was played in court, Terry Williams, Jessie Williams’ brother,
waiched the tape with a pained expression on his face while his wife,
Annette, patted his back and wept.

"The tape shows exactly what we believed it would,” sald Michael W.
Crosby, attorney for Williams' estate. “It was inhumane, barbaric and
surrealistic, representing mankind at its worst.”

Several people who didn't know Williams or his family have attended the
trial this week and given their moral support. Andrea Gibbs, a former
sheriffs deputy who blew the whistle on inmate abuse al the Harrison
County jail more than a decade ago, leaned over and whispered to Terry
Williams after the tape played.

"I'm so sorry,” Gibbs told him.

Five current or former law enforcement officers who witnessed the Williams
incident testified Thursday afternoon. They said they were shocked or
overwhelmed and all agreed they did nothing lo stop it, nor did they contact
authorities. Their reasons varied.

"| didn't want to be the one to drive that nail home,” said Long Beach Police
Officer Jason Case, who identified hirnself as a good friend of Teel. Case

http://www.sunherald.com/388/v-print/story/117218.html

3/12/2009
SunHerald.com : COURT SEES ‘TAPE OF FATAL BEATING Page 2 ot Z
Case 1:07-cv-01205-LG-RHW Document 346-4 Filed 04/01/10 Page 5 of 26

and the other Jaw enforcement officers were at the jail to drop off detainees
at the jail booking room.

The jury heard its first parspective of the video from Jeremy Powell, a
Gulfport High student who was 14 the night he visited the jail for a school
project.

"| thought it was disgusting," said Powell.

Prosecuters presented as evidence the restraint chair Williams was placed
in. Former jailer Leo DeGeorge, who witnessed part of the incident,
demonstrated how the chair works.

"| was surprised by what | saw," DeGeorge said.

Several witnesses, including the teenager, told the court they heard Teel
tell Williams, "I'm going to kill you.”

Prosecutors set the stage for the video with the testimony of former
Sheriffs Capt. Rupert Lacy, who had taught Teel, Gaston and others to use
pepper spray. He'd also trained officers to use a Taser. Lacy said the
devices are tools to help officers bring unruly detainees into compliance for
the safety of ail around them, but they're not intended “for play” or
punishment or for use on anyone who is restrained and no threat to others.
Also Thursday, jurors viewed a videotape showing inmate Kasey Alves,
who testified he suffered acute kidney failure after Teel strapped him tightly
in a restraint chair for more than seven hours. His incident occurred Jan. 7,
2006.

After Alves' incident, former jailer Madeline Dedeaux told the Sun Heraid
she warned the jail warden someone was going to die if somebody didn't
do something about Teel.

Testimony in the conspiracy trial resumes today al 9 a.m. and Is expected
to last al least another week.

OSPF EAAEE.

http://www.sunherald.com/3 88/v-print/story/117218 html 3/12/2009
SunHerald.com: yydeotape of second inmate assault shows at jell Wiel oaoi10 Page Bar se! 2

Thursday tar 12 2000

h Posted on Thu Aue o8 “007

| Videotape of second inmate assault
! shown at jail trial

By ROBIN FITZGERALD

'
\
1
!
{
|
!
i
!

A wide-eyed, somber audience in federal court viewed a second
videotaped inmate assault this afferncon shortly after prosecutors played
the recorded fatal beating of Jessie Lee Williams Jr.

The second tape showed the assault of Kasey Dion Alves, who told the |
court he suffered acute kidney failure after an incident at the Harrison |
County jail in Gulfport on Jan. 7, 2006. Alves said he was punched, pepper-
sprayed and strapped tightly in a restraint chair for about seven hours,
Biloxi Police Officer Kit Manning, who also testified, said Alves was |
j “extremely intoxicated" at the time of his arrest but wasn't a threat to
anyone even aiter they were in the jail booking room. Manning said he put
Alves against the wall and told him to stay there and turned but noticed

Alves walking toward him. Manning said he pushed Alves against the

acrylic glass window and again told him to wait for a booking officer.
The videotape shows an officer identified as Ryan Michael Teel shove i
Alves against the glass and both wound up on the floor, with Alves belly-
down and Teel on top of hirn. |
At the time, Alves was in two sets of handcuffs, a procecure Manning said
is typical in the transfer of a detainee to ancther agency.

The tape shows that Teel wound a pillow case or sheet around Alves’ head.
Manning said it was tight enough to see Alves' facial features and he could
see blood seeping through the cloth. Manning said Alves was pepper-

sprayed and recalled hearing Alves say he couldn't breathe, Manning said
the pepper spray on the cuts on his face undoubtedly increased Alves' pain i
and discomfort. !
I The tape showed officers wrapping Alves in a blanket Manning called “a

mummy wrap." |
i "l was surprised,” said Manning, adding that officers in the booking room
acted as if "it was something they were used to." i
The tape showed Alves strapped in a restraint chair and rolled into a
holding cell with other detainees. Gasps could be heard across the
courtroom as the tape showed Teel slam a different inmate against a door
jam and then slammed him again.

Alves told the court that former Sgt. Regina Rhodes also was involved and
said he was punched in the mouth. Alves said he remembered gasping for
breath and watching officers walking by laughing at him and making
sarcastic remarks.

The tape showed Teel bouncing a ball against the window while Alves
remained restrained.

In testimony earlier this morning, former Sheriffs Capt. Rupert Lacy told
jurors how he trained Teel and former Capt James Ricky "Rick" Gaston in
the proper use of pepper spray Lacy also testified on the proper use of a

http://www.sunherald.com/388/v-print/story/117083.html 3/12/2009
SunHerald.com ; i pifeotane a rpte assault shown at jail tr Page 2 of 2
rar a aT STE R EN ean eet "Bled 04/01/10 Page FEF 38

Taser and said both are tools for officers to use to bring unruly prisoners
into compliance,
In response to prosecutor Lisa Krigsten's questions, Lacy said it would not '
be appropriate to use either tool on a restrained inmate who posed no
threat to others. He also said officers were advised in training and through
i polices and procedures that using them for punishment or "play" could cost
them their job.
When the jury was sent home for the night, Gaston's attorney again asked
U.S. District Judge Louis Guirola Jr. to try his client separately, citing
damaging testimony against Teel. Guirola again denied his request.
The Sun Herald is in Hattiesburg covering the trial and updates this story
online and in Thursday's editions.

http://www.sunherald.com/38 $/v-print/story/1 17083 html 3/12/2009
SunH erald

en

Soy Milliangs inibeting video played dee G-4 — Filed 04/01/10

Trareuty bie ti? 20K

Posted on Thu aun GS 2607
Williams jail beating video played in court
By ROBIN FITZGERALD

All eyes focused on monitors in the courtroom of U.S. District Judge Louis
Guirola Jr. of the videotaped beating of Jessie Lee Williams Jr. played
before a noon break in the trial of two Harrison County jaiters.

Jeremy Powell, a Gulfport High School student who was 14 when he visited
the jail Feb. 4, 2006 for a school project, recounted what he saw and heard
as federal prosecutor John Cotton Richmond played the tape and stopped
it numerous times to ask questions.

Powell identified Ryan Michael Teel as the one who delivered most of the
blows and Regina Rhodes as the other officer who also punched Williams.
Movement in the videatape is choppy, but it shows Williams entering the
booking room at 10:30 p.m. in a while T-shirt with his hands cuffed behind
him.

At 10:32 p.m., the tape shows Rhodes pushing him against the wall, Powell
said it was because Williams failed to comply with an order to remain
standing against the wall. The tape shows Williams moving away from Teel
as Teel's right leg drew back and then kicked him. Williams lunged at Tee!
and beth fell on the floor, with Williams hitting his head against the wail.
The tape shows Williams was punched repeatedly in the head, back and
chest by Teel, hogtied, punched some more and dropped headfirst before
he was wrapped in a black blanket.

The punching continued even as Williams was strapped to a restraint chair.
The tape shows Williams legs moving and Teel shoving the chair back

Page Bag 26°F |

!

against the wall.

Prior to being placed in the chair, a woman identified as Gulfport Police
Officer Kelly Knight handed Teel a can of pepper spray, which was sprayed
in his face through a spit mask that had been placed over his head. While
Williams was restrained in the chair, Teel poured water over his face,
According to Powell, Teel said ,"| hope you don't drown." It appeared the
water was an effort to decontaminate Williams from the burning sensation
of the pepper spray.

Within an hour, an ambulance crew arrived to take him to the hospital,
where he died when he was removed from life support two days !ater on
Feb. 6, 2006. Teel conierred with his attorney as the lape played.

Terry Williams, Jessie Williams' brother, looked on with a pained
expression as his wife, Annette, patted his back.

The Sun Herald is in Hattiesburg to cover the trial and gives updates online
and in Friday's edition

http://www.sunherald.com/388/v-print/story/116712.html

3/12/2009
SunHerald.com ¢ Gylure ob ARLE TRSPRAE? Document 346-4 Filed 04/01/10 Page SBP 3é*?

Texl Size

Thuriuay Pld 12 2088 |

Postation Wed Aug OF | OO,

! ‘Culture of abuse’ recounted

By ROBIN FITZGERALD
Graphic testimony in the trial of two former Harrison County jailers Tuesday
matched a federal prosecutor's description of a “culture of violence" among
officers who "sullied their badges by bad decisions," making the abuse of
inmates a sport.
| Jurors in the trial of James Ricky "Rick" Gaston and Ryan Michael Teel
appeared overwhelmed by claims and evidence including a picture of an
injured inmate and surveillance recordings of a female inmate's assault. In
testimony punctuated by objections from defense attorneys, former jaller
William Jeffery Priest identified Tee! and Gaston as ringleaders of a rogue
pack that encouraged beating inmates, joked about it and taught others
how-to strike an inmate without leaving a visible mark.
Priest told jurors of several abused inmates, including Only Al-Khidir,
whose booking mug shows a blocdy face and hair askew. Former jailer
Morgan Thompson told Priest he beat the man in the shower room, where
no surveillance cameras are present, according to Priest.
Numerous jailers and deputies were shown the picture on a jail computer
I and half a dozen copies were posted around the jail, "almost as a joke,”
Priest said. Gaston was present that day and made no efforts to stop lhe
show-and-tell, according to Priest. Former jailer Timothy Moore, who quit
after the incident, has admitted he falsified a report on the incident at the
request of Gaston and an unidentified co-conspirator. The jail docket shows
Al-Khidir was booked in the night of Oct. 4, 2005. i

Jurors also heard from two former Baldwin County, Ala., corrections
officers who said they were prepared to bust out of the Harrison County jail
gate to escape with a prisoner assaulted by Gaston, then a captain at the
jail, on Oct. 10, 2003. The officers said they had orders to move a Harrison
Counly jail inmate to their jail. One, a senior officer, said he ordered his
companion to pepper spray Gaston and was trying to retrieve his gun,
which he left in their van, when they were able to fend him off,
Testimony resumes today at 9 a.m. before U.S. District Judge Louis
Guirota Jr.
Federal trial attorney Lisa Krigsten, in opening statements Tuesday,
described Gaston as “priding himself in ruthlessly abusing inmates who
angered him. He led the charge."
Teel, she said, "set the tone for the rest of the officers, encouraging a
culture of abuse. He abused for sport."
Krigsten told jurors the case isn't about ihe fatal beating of inmate Jessie
Lee Williams Jr., an inmate who died after an assault in the jail booking
room on Feb. 4, 2006.
Williams, she said, just happened to be the one who died of his injuries
Krigsten said witnesses will testify that Williams was punched, kicked, shot
with a Taser, pepper sprayed and died of bleeding of the brain after the
veins surrounding his brain were broken. The government plans to play the

http://www. sunherald.com/388/v-print/story/115615.htm! 3/12/2009
SunHerald.com: judtng OAD USE BEM? “Document 346-4 Filed 04/01/10 Page 16% 2

survelllance tapes of the incident before it rests its case,

Jailers who participated in the conspiracy exploited the power of their
badges and preyed on the weak and vulnerable until their acts
"extinguished the light of a life,” Krigsten said.

Priest is among eight former jailers who accepted plea bargains to testify
for the prosecution. During about two hours of testimony Tuesday, Priest
said Teel took delight in abusing inmates and acted "giddy" and "excited"
when he became the first officer to use a Taser,

Teel had names for each day of the week, such as "Thump A Thug
Thursday," Priest said.

He also said Teel taught other officers the "red light-green light" method of
assaulting inmates, considering "red" the face area, and "green" anywhere
on the body where a mark wouldn't be easily visible.

According to Priest, Steve Campbell, who ran the Sheriffs Department's
internal affairs office, helped officers conceal the abuse. Campbell has not
been charged in the case, but is listed as a potential witness.

Patrick Craft and Ronnie Partain, the former Alabama jailers, said Gaston
twice assaulted inmate Timothy Oliver and followed them to their transport
van, where Gaston allegedly crawied in the van to strike the handcuffed
inmate again, Both men said Gaston initiated the incident after Oliver spat
at him while they "bickered back and forth."

Defense attorneys raised numerous cbjections throughout the afternoon.
Opening arguments were delayed until after lunch. Guircla said a jurar's
child was involved in a traffic accident while traveling to school. Guircla
dismissed the jurer,

Attorney Jim Davis, representing Teel, said his client only used the amount
of force necessary to control inmates. The only reason charges were filed,

: _ . . . as ._. .
said_Davis,isthat investigators found "a weak link" in-fommerjailer Regina

Rhodes and convinced her "to set up" other officers. Rhodes was the first
to enter a plea agreement with the government, admitting she conspired to
deprive inmates' rights under color of law.

Omodare Jupiter, part of the public defender team representing Gaston,
also said his client is innocent and was only doing what he needed to do to
ensure the safety of officers and inmates.

Jupiter said the jail is overcrowded, understaffed and "there is no clear
chain of command."

http://www.sunherald.com/388/v-print/story/115615.html

3/12/2009
SunHefaahechil:/hiNeP deisel AAegeW Wbushor eet shat at AbeasOA/Oblhey jafhage 11pabe of 1

Lou

- Text Size ;

I

Thyraday Rede (2 2005 t

t

Posted on Wed Aup Of 007 I

Jailer details alleged abuse on female
inmate at Harrison County jail

H By ROBIN FITZGERALD

|

Chelle Abrams, “loud and boisterous" by nature, yelled and threw a foad

tray In her holding cell because she had been pepper sprayed at the

Harrison County jail without being decontaminated, according to a former

jailer's testimony today

Abrams fiushed her eyes with water from a stainless steel toilet and

booking officers ignored her screams for help, said former jailer William |
i

Jeffery Priest. In a span of 10 minutes filmed by surveillance cameras,
Abrams was punched in the face repeatedly by Ryan Michael Teel after
she threw toilet water at him as officers entered her ceil, Priest testified.
The other co-defendant, James Ricky "Rick" Gaston, then repeatedly shot
i Abrams with a Taser, said Priest, who admitted he then punched her, and
she said, "I'm done."

In other testimony today, former jail employee Melissa Peterson said she
witnessed her friend, Regina Rhodes, straddling Abra Horn in a female cell

Gaston and another officer, escorted Horn to a holding cell and on the way 1
Horn spat at Rhodes and tried to kick her. Rhodes punched Horn while
Gaston watched and remained silent, Peterson testified.
The government called another witness after a lunch break. Former jailer
Dedri Caldwell, one of the eight to plead guilty in the investigation, is at the
federal courthouse with her attorney and likely could be the next witness
called.
The Sun Herald is in Hattiesburg covering the trial and brings updates
online and in Thursday's editions.

http://www. sunherald.com/388/v-print/story/115914.html 3/12/2009
SunHerald.com ; /BUORs aRpSeed wer hamned py fat ta PONY ed 04/01/10 Page FS! 36!
iB [ext Sze: 8 @

Trasroday, Mar 12, 2008

Posted on Tue, Aug. 07, 2007

Jurors appeared overwhelmed by jail trial
testimony

By ROBIN FITZGERALD

Jurors appeared overwhelmed today by testimony regarding a beaten
inmate's picture, a recording of an assault on a female inmate and other
accounts of abuse by officers at the Harrison County jail.

Evidence presented by federal prosecutors was punctuated by objections
from altomeys defending former Harrison County jailers Ryan Teel and
Rick Gaston. Testifying for nearly two hours, former jailer William Jeffary
Priest responded to questions with graphic details of unnecessary force
and bragging, net only by Teel and Gaston, bul by other officers as well as
himself.

Priest's testimony followed that of two former Baldwin County Jallers who
said they were prepared to bust out of the Harrison County jail gate to
escape with a prisoner assaulted by Gaston, then a captain at the Jail. Tee!
was not involved in that particular incident, according to testimony.
Opening statements began with the government providing fiery accusations
of a world of torture at the jail where the government alleges that Teel and
Gaston encouraged the abuse of inmates during a period of several years.
In the case involving testimeny from Alabama officers, Gaston allegedly
assaulted the inmate twice while the deputies were trying lo take him out of
the jal] to move him to Baldwin County on Oct. +0, 2003.

Teej and Gaston are accused of a conspiracy to deprive inmaies' rights
with excessive, unjustified force and acts to conceal the crimes. They also
are charged with individual counts alleging they abused separate inmates

al the Harrison County jail In Gulfport
p

Teel's charges include the fatal beating of inmate Jessie Lee Williams Jr.,
whose adull family members are attending the trial. Williams is the oniy
alleged victim identified by name in the indictment. Harrison County
Coroner Gary Hargrove ruled Williams’ death on Feb. 6, 2006, a homicide
at the hands of another at the Harrison Counly jail.

The prosecutors are federal trial atiorneys Lisa Krigsten and John Cotton
Richmond, both from the U.S. Justice Department civil rights division in
Washinglon. Also seated at the prosecution table are Special Agent Joel
Wallace of the Mississ!ppi Bureau of Investigation and Ruth Morgan, an
assistant U.S. attomey from the Southem District of Mississippi.

Teal, 30, a former sergeant at the jail booking room, is represented by
Gulfport attorney Jim Davis.

Gaston, 52, a former captain and the highest-ranking officer accused
criminally, is represented by a team of federal public defenders led by John
Weber.

lf convicted on all counts, Teel and Gasion each face possible penalties
that include life in prison.

The Sun Herald ts in Hattiesburg to cover the trial and provide updates
online and in Wednesday's editions.

http://www.sunherald.com/388/v-print/story/114976.html 3/12/2009
SunHertSSon4 TS OEP RL Webvld ane ate SUM eS Reg ile A ASIOt eee 13at6 § of 1
oe . ~ . = ~ Taxt Size
td

Trateigy Mar i2 2008

Posted on Fn Aug 10, 2007

|
| Jurors off for weekend after testimony
from Regina Rhodes

By ROBIN FITZGERALD

A federal Judge released jurors for the weekend aiter an intense day of
testimony ending with a detailed account of the fatal, jailhouse beating of
inmate Jessie Lee Williams Jr.

The last to take the witness stand today in the criminal civil- rights case
was former Harrison County booking officer Regina Lynn Rhodes, a

! witness for the prosecution. Rhodes, 30, was the first of eight former jailers
! to enter plea bargains with the government after an investigation prompted
| by Williams’ death.

i Rhodes said Vvilliams tried to choke her supervisor at one point in the

j beating, but claimed that Williams was no threat to anyone when the

| assault began and throughout the incident, with exception of the choking
attempt. Rhodes said she and Ryan Michael Teel, officer in charge,
bickered with Williams before the commotion began. Rhodes admitted to
the punches she threw, but told of numerous strikes by Teel.

Rhodes testimony-accompanied the playing of a videotape from a different
camera angle, revealing new information backed up by Rhodes’ first-hand
account of Williams’ assault on Feb, 4, 2006. Teel is on trial along with their
former boss, then-Capt. James Ricky "Rick" Gaston.

While several former jailers who witnessed the Williams beating have now
testified to what they saw, Rhodes is the first jailer involved in that incident
to bring every detail into focus, including a new detail the Williams' family
had not heard. The different camera angle makes it appear that Williams
didn't lunge at Teel after Teel landed a swift kick te Williams’ chest or
stomach area. Instead, it appears that Williams fell over, Teel grabbed him
and they began to tussle.

Rhodes described how Williams was repeatedly kicked, punched, stunned
by a Taser, hog-lied, wrapped in a restraint blanket and further
incapacitated by a spit mask doused with pepper spray and placed over his
face. After Williams was strapped to the restraint chair, Teel "kneed him in
the groin" and choked him with a leather strap placed across his neck,
Rhoades said.

After the Taser was used, Rhodes said, Teel pulled the fish-hook-shaped
prongs out of Williams’ flesh and jabbed them back into his skin.

Several of Williams' relatives began to weep.

In other testimony this afternoon, Sheriffs Department patrol officer Willtam
Correa said he witnessed part of the Williams incident, leaving an inner
office to watch parts of the commotion while doing paperwork.

Read more about this story in Saturday's editions of the Sun Herald.

http://www.sunherald.com/388/v-print/story/117931.htm!

3/12/2009

SunHergid cam :Fomyenia les neesltseepatingyocument 346-4 Filed 04/01/10

Thuraday Mar? 20G8

Poslot or Sa, Sug 41 2007

Former jailer recalls beating

Gy ROBIN FITZGERALD

Jessie Lee Williams Jr. did not lunge at the Harrison County jail booking
officer who kicked him, but raised his arm to fend off the blow and fell over,
according to testimony from former members of the booking-room
"brotherhood" and a different camera angle of the videotaped fatal beating,
In an intense day of testimony in federal court Friday, witnesses including
former jailer Regina Lynn Rhodes revealed new information the federal
government plans to use to prove its conspiracy case of jailhouse abuse,
The accusations are civil rights violations, a federal crime, involving
unjustified force that injured inmates and resulted in Williams' death.

On trial are Ryan Michael Teel, a former officer in charge of the booking
room, and James Ricky "Rick" Gaston, former caplain in charge of booking
and inmate records, Eight former jailers, including Rhodes, have pleaded
guilty to related charges.

U.S. Districl Court Judge Louis Guirola Jr. is presiding.

The officers who conspired to deprive inmates' rights under color of law
were an "extremely tight" group who taunted, threatened and intentionally
injured inmates regardless of whether they were restrained and or a threat
to anyone, Rhodes testified.

And that, she said, included Williams.

The videotaped beating of Williams was made public at trial this week: but
a recording shown Friday came from a different camera. Both show
Williams with hands cuffed behind his back and, according to testimony,

Page Pagé 2of2
|textSa0”

|
|

compiying with Tee's order to remove his shoes. They also show Teel with
one leg thrust back for a forceful kick that struck Williams’ chest or
stomach.

But in the second recording, it appears Williams tried to deflect the blow
and fell over, with Tee! grabbing him and the two beginning to tussle. The
first tape raised questions that Williams lunged at Teel in response to the
punt-style kick.

Deputy Sheriff William Correa, a patrolman who was in the booking area,
said Williams was no threat to anyone and was trying to deflect fhe kick
that began the melee.

Correa said he later overheard Teel, Rhodes and then-officer Morgan
Thompson working on their use-of-force narrative report. Correa said he
overheard Teel say, "We have to write this up the right way." Correa said
he believed that meant to write the report in their favor, falsely.

Rhodes told the court she taunted Williams and that she and Teel bickered
with Williams with a string of profanity before and after the series of
assaults began. She also echoed other witnesses who said Teel
threatened several times to kill Williams.

Rhodes testified that Teel repeatedly kicked, punched and Tasered
Williams, hog-tied him, wrapped him in a restraint blanket and further
incapacitated him by a spit mask doused with pepper spray and placed

http://www.sunherald.com/388/v-print/story/118010.html

3/13/9009
SunHerald.com : di pryep isis Acca He hegtingocument 346-4 Filed 04/01/10 Page 1aeé 26f2

i over his face. After Williams was strapped to the restraint chair, Teel i
"kneed him in the groin" and choked him with a leather strap placed across
his neck, Rhodes said.

In a new detail, Rhodes said Teel pulled the fish-hook-shaped prongs from
the Taser out of Williams' flesh and jabbed them back into his skin.

Several of Williams’ relatives began to weep during Rhodes’ testimony. "My
Lord," whispered Williams' aunt, Zota Broach.

Rhodes said she also punched Williams several times. She said she was
angry that Williams tried to choke Teel during a struggle, but said that was
the only point that Williams was considered non-compliant.

Rhodes described one instance in which Teel kicked Williams in the head
as he lay restrained and wrapped on the floor.

"| said, ‘Damn, that looked like it hurt.' | was still angry but it looked painful,"
said Rhodes

The assault began at about 10:30 p.m. on Feb. 4, 2006. Dr. James Doty, a
neurosurgeon, testified Friday that Williams effectively was dead when he
saw him at the hospital about 2:50 a.m. the next day.

Doty said Williams had blunt-force trauma of the facial area and a blood
clot - a subdural hematoma - that spread through the right side of his brain.
His brain was realigned by at least three-quarters of an inch.

"His was one of the most severe subdural hematomas |'ve actually
evaluated in my years," said Doty, who has been practicing for 20 years.

In other testimony, Vicky Burns Trimble, a former officer in charge of
booking, said she couldn't stop the officers under her from abusing inmates
and said she had complained “at least 10 times" to Gaston, "but nothing
changed.”

Rhodes returns to the witness stand at 9 a.m. Monday.

Federaliratattomeydotrr Richmord said the government expects to rest !
i

its case sometime Monday.
ON THE WEB

http://www.sunherald.com/388/v-print/story/118010.html 3/12/2009
Case 1:07-cv-01205-LG-RHW Document 346-4 Filed 04/01/10 Page 16 of 26

& Texl Size:

Thuteday, Mar 12, 2000

Posted on Mon, Aug. 13, 2007

Former jailer: Gaston knew about abuse
and didn't stop it

By ROBIN FITZGERALD

Former Harrison County jailer Morgan Lee Thompson today testified that
the captain in charge of booking knew that officers were abusing inmates
and did nothing to stop it. He was referring to James Ricky “Rick” Gaston
who is on trial in federal court along with Ryan Michael Teel in a jailhouse
abuse case.

Thompson said Capt. Steve Campbell, who was in charge of professional
standards, was given some reports of inmate incidents but Campbell never
spoke to him about those incidents.

Thompson's testimony came after Regina Rhodes, another former booking
officer, gave incriminating testimony against Teel and Gaston.

Rhodes and Thompson both admitted using excessive force and implicated
other officers; Thompson even said patrol officers would abuse inmates.
The Sun Herald posts continuous updates from Hattiesburg throughout the
day at sunherald.com, with full roundups in the next day's paper.

http://www.sunherald.com/388/v-print/story/1193 10.html 3/12/2009
OUNMETALU.COM : reuUs EXpect lO Test MIonday Page {| ot 3
Case 1:07-cv-01205-LG-RHW Document 346-4 Filed 04/01/10 Page 17 of 26

(be Texl Size: Gt &

Thursday. Mar i2. 200¢

Posted on Mon, Aug. 13, 2007

Feds expect to rest Monday

By ROBIN FITZGERALD

The conspiracy trial of two former Harrison County jailers so far has
included startling testimony of officers' taunts and torture of inmates, long-
term cover-ups and videotapes of an inmate being beaten to death.

The federal government, with mounds of evidence amassed in an 18-
month investigation, lald the foundation for its case in the first week of trial,
which recessed Friday in Hattiesburg. Prosecutors expect to rest their case
after testimony Monday. Defense atiorneys will attempt to convince jurors
their clients are not guilty of crimes that could put both defendants behind
bars for life. The trial could end this week,

Current and former jailers and law enforcement officers last week testified
for the prosecution of Ryan Michael Teel, 30, and James Ricky "Rick"
Gaston, 52. Teel was the officer in charge of the booking room on Feb. 4,
2006, the night inmate Jessie Lee Williams Jr. was beaten to death. Gaston
was the captain over booking and inmate records.

According to prosecutors and witnesses, Teel helped set the tone for
making inmate abuse a sport at the jail. Gaston, they said, ran the booking
division with its own set of rules and was known to say that booking was
“kicking ass and not taking names.”

Tee] and Gaston are accused of conspiracy and two counts each involving
specific inmate assaults, one including the same inmate. Teel's charges
include the assault leading to Williams’ death and falsifying his report.
Regina Rhodes, the first of eight former jailers to break a code of silence

with-a- confession, gave frank damagingtestimony Friday against Teel
with ; ; :

Gaston and others. She admitted taunting and punching Williams and said
she and Teel swapped threats and curse words with Willlams before Teel
initlated the attack. She gave a detailed narration of videotapes from
different cameras around the booking area.

According to Rhodes, co-conspirators bragged about assaulting inmates
and Gaston reminded them to avoid being caught on camera if they "had to
do something." It wasn't uncommon, she said, for officers to pepper-spray
door handles and toilet seats for the fun of watching inmates experience
the painful burning sensation.

Rhodes and others who testified said officers had names for each day of
the week: Thump A Thug Thursday. Friday Night Fights. Slap A Ho
Saturday.

Rhodes recalled taunting Williams by telling him, "If you're feeling froggy,
jump.”

"| told him he should listen to that white boy (Teel) or he's going to hit him.”
According to testimony, handcuffs were removed from Williams and he was
complying with an order to remove his shoes when Teel gave him a forceful
kick. A struggle ensued, and Williams was agaln cuffed with hands behind
his back. The tapes recorded an image without sound every two or three
seconds. They show an officer, identified in court as Teel, launching a

http://www.sunherald.com/388/v-pnint/story/118502.html 3/12/2009
MULTI di . dt bio VAP OleL ty del LY el y puppy me vie

Case 1:07-cv-01205-LG-RHW Document 346-4 Filed 04/01/10 Page 18 of 26

series of assaults with closed fists, feet and a variety of devices.

Rhodes, 30, told the court Williams was not a threat to anyone when the
attack began or at any time other than when he attempted to choke Teel
after Teel had him on the floor.

Rhodes said inmates who witnessed it cried out for Teel to stop because
Williams was complying with orders. She described Williams’ screams of
pain as he was shocked by a Taser, hog-tied, dropped head first, then
strapped to a restraint chair as blows continued. Rhodes said Teel doused
a spit mask with pepper spray and placed over Williams’ face while the
inmate was restrained.

Teel alse removed the fish-hook prongs from the Taser and jabbed them
into Williams’ flesh, Rhodes said, and choked him with a leather strap while
Williams was in the restraint chair.

Dr. James Doty, the neurosurgeon who evaluated Williams, testified that he
suffered from blunt-force trauma to the facial area and a subdural
hematoma, a blood clot on the brain. Doty said it was one of the worst
cases of subdural hematomas he's seen in 20 years.

For Willfams' family, the trial is about justice for the 40-year-old father of
six, But federal trial attorneys in opening statements said the trial isn't about
Williams. He just happened to be the inmate who died at the hands of
officers who betrayed the trust of their badges, said Lisa Krigsten.

Krigsten and John Cotton Richmond lead the prosecution. Both are
attomeys from the Justice Department's Civil-Rights Division in
Washington.

Also at the prosecution table is special agent Joel Wallace of the
Mississippi Bureau of Investigation, the lead investigator in the case.
Records show his agency began interrogations Feb. 8, 2006, the day
Harrison County Coroner Gary Hargrove ruled Willigms' death a homicide.

On the defense side, attorney Jim Davis of Gulfport is the court-appointed
counse! for Teel, whose wife attended court daily last week and wept as the
videotapes were played. His parents heard a couple of days' testimony.
Gaston is represented by a team of five federal public defenders led by
attomeys John Weber and Omodare Jupiter. Gaston's daughter and a son,
dressed in military uniform, also attended the first week of trial.

Testimony resumes at 9 a.m. Monday with the cross-examination of
Rhodes. U.S. District Court Judge Louis Guirola Jr. is presiding.

Week One in review

Highlights, by day, of testimony in the trial of former Harrison County jailers
Ryan Michael Teel and James Ricky “Rick” Gaston:Monday

An all-white jury is selected

Tuesday

Former Baldwin County, Ala., jailers testify they were prepared to break
through the jail gate to help a prisoner they were picking up who had been
assaulted by Gaston.

Wednesday

Former jailers testify that inmates were regularly beaten. Sheriffs Capt.
Kenny Rogers testifies on how jailers were trained to control inmates.

http://www.sunherald.com/388/v-pnnt/story/118502.html 3/12/2009
YUL. . CUS CAPECL LO Test MiOTday

Page ; 9f3
Case 1:07-cv-01205-LG-RHW Document 346-4 Filed 04/01/10 Page190

Thursday

Prosecutors show a graphic video of Williams being beaten and tortured,
Friday

Former jailer Regina Rhodes tells how jailers joked about assaulting
inmates in areas where cameras couldn't see them.

http://www.sunberald.com/388/v-print/story/118502.html 3/12/2009

DUE Ud. A UU UCIGLOG SLaLES Lt fall LLL Page | of |

Case 1:07-cv-01205-LG-RHW Document 346-4 Filed 04/01/10 Page 20 of 26

& < Taxi Size:

Thursday, Mar 12. 2000

Posted og Mon, Aug. 13, 2007

Teel defense starts in jail trial

By ROBIN FITZGERALD

Testimony this afternoon in the defense of former jailer Ryan Michael Teel
brought no startling revelations about abuse of inmates by him at the
Harrison County jail.

Four former sheriffs department employees testified that they never saw
inmate abuse or saw Teel abuse inmates. However, as federal prosecutor
Lisa Krigsten pointed out in questioning all four were aware of inmate
-abuse and told state investigators so in previous interviews. One of them
did not work in the jail for a period of three years so he had no way of
knowing about Teel's actions in the jail anyway, Krigsten said.

The jury has been sent home for the evening. Testimony resumes at 9 a.m.
Tuesday.

The Sun Herald posts updates on trial throughout the day on
sunherald.com. Read full accounts daily in the print edition.

http://www.sunherald.com/388/v-print/story/119550.html 3/12/2009
of 2

SunHerald Teel testifies and se Page
TCR e jSAeOEELRW® Document 346-4 Filed 04/01/10 Page Sfot 36

S
Case 1:07-cv-0120

sf Texl Slze: UH 1)

Posted ge tug, hug. 4, 2687

Teel testifies and rests case

By ROBIN FITZGERALD

The prosecution confronted Ryan Teel with conflicting testimony from a
swom statement today before he rested his case and defense began for his
co-defendant.

The issue at hand involved one of Teel's motions to sever his case from co-
defendant Rick Gaslon in an affidavit unsealed in court during a break from
Teel's testimony.

The affidavit was filed before [he start of trial for the two former jailers and
involved Teel's statements that he had witnessed "countless" incidents of
inmate abuse at the jail and incidents involving Gaston, the former captain
over booking.

Teel's attorney, Jim Davis, didn't want the document unsealed and told
U.S. District Judge Louis Gutrola Jr. his client hadn't lied yet on the witness
stand and he wasn't going to lie in further testimony.

Gaston's jead attorney, John Weber, argued that it wasn't fair to present
damaging testimony about Gaston that had not been provided in advance
to his attorneys.

The judge ruled the document unsealed and said attorney's could make
objections as they considered appropriate.

In response to questions from federal trial attorney John Cotton Richmond,
Teel answered cautiously, admitting his unsealed statement said Gaston
was aware of inmate abuse and also had used force on inmates.

Tael admilted the incident began when he kicked Williams, as shown on

ihe videotapés played in court. Teel said he kicked because Williams
refused to comply with an order to keep his hands on the booking counter.
But Teel said the blow didn't land where he intended it to because he has
an ankle problem from a prior injury.

Teel described the scenario that followed as this: Once Williams was re-
cuffed with hands behind his back, Teel hog-fied him and used two different
cans of pepper spray to douse a spit mask, mub it on Williams’ face, then
put the mask over Williams' head, Teel said he then spewed pepper spray
up the mask toward Williams‘ nose and chin.

Teel said he used the pepper spray because Williams refused to give up
one hand to be re-cuffed.

Teel claimed he warned Williams to give up his other hand for the cuffs,
saying "I've got 50,000 reasons why you should do it."

Teel said he was referring to the 50,000 volts of electricity the Taser
delivers when its prongs or the gun itself makes contact with skin.

Teel said he first used the Taser's air cartridge, which released lines with
barb-tipped probes that pierced Williams skin, and then used a “drive stun,"
which means placing the Taser directly against the skin. Williams’ family
groaned quietly as Teel matter-of-factly described how he yanked the barb-
ended prongs out of Williams’ skin.

Teel said he then hog-tied Williams to further gain control of him and

http://www.supherald.com/388/v-print/story/1 2041 0.html 3/10/2009
DULTIEMU UL . Ct Leb Liics duu losis Case Page z O12

Case 1:07-cv-01205-LG-RHW Document 346-4 Filed 04/01/10 Page 22 of 26

carried him to a restraint chair brought out al Teel's order,

Once Williams was seated in the chair, Teel punched him two or three
times ijn the stomach. Tee! said he punched in reflex and anger after
Williams kicked him three times in the groin.

Richmond asked Teel why he couldn't just step back to avoid Williams’ legs
and why felt it necessary to use those levels of force against a restrained
inmate in violation of jail policies.

Teel said he feared for his life and jail policies have a provision that an
officer can take extreme measures in exireme circumstances,

Teel said he was sorry for the family's loss, but maintained he did not feel
responsible for Williams’ death.

Attomey Michael W. Crasby, representing Williams’ estate in a related civil
case, said he felt Teel’s comments and his statement to Williams' family
was not genuine and was more of a legal defense maneuver.

Testimony resumes at 9 a.m, Wednesday with Gaston's defense.

The Sun Herald is in Hattiesburg to cover the trial and provides updates
online and in Wednesday's editions.

http://www.sunherald.com/388/v-print/story/120410 html 3/10/2009
Ma ae ee ee Gd BUS A US LG LULL Page ] of J

Case 1:07-cv-01205-LG-RHW Document 346-4 Filed 04/01/10 Page 23 of 26

Texl Siza: 2“):

Pened ce Wed, Ate.

Gaston denies all allegations in his
testimony

By ROBIN FITZGERALD

Former Sheriffs Capt. Rick Gaston has taken the witness stand and denied
all allegations that he abused inmates or encouraged those who worked
under him to do the same.

Gaston said he was hired as chief of security because then-warden Maj.
Diane Gatson-Riley "was just an office person.” Gaston said that after 1-1/2
years as chief of security, he then began working with bail bonding
companies but that only required an hour or two a week of his time in his
position at the jail.

He was named booking supervisor in September 2004 and said he began
to develop the booking officers to follow in his image as one who sees
detainees as being reguiar people.

"The thing about booking is that It has a totally separate function from the
rest of the jail," he said.

Gaston said that while jailers wha work in the housing units are there to
care for them and maintain safety, booking officers deal with people who
are intoxicated, on drugs, sometimes are violent or have mental issues.
"Booking is where it all starts and all ends,” he said.

Since Gaston's defense has not rested, the prosecutors have not had a
chance to questions those testifying in his favor.

Testimony resumes at 1:30 p.m.

The Sun Herald is in Hattiesburg covering the trial and provides updates

———_-———Hhroughoutthe-day ontine amin Thorsday’s editions.

http://www.sunherald.com/388/v-print/story/]20879.html 3/10/2009
oUuNnMeTad.cOM ° Waslon ademes Knowledge OI apuse Page 1 ot Zz
a O11: LIVA i }
=e CO vy

Text Size: &

Thursday, Mar £, 2009

Posted on Thu, Aug. 16, 2007

Gaston denies knowledge of abuse

By ROBIN FITZGERALD

Rick Gaston rested his case Wednesday in staunch denial of accusations
that he knew the Harrison County jail booking officers under his supervision
abused inmates.

The former sheriff's captain did not attempt to respond to the federal
government's rebuttal, which used a video to contradict Gastan's testimony
claiming he was unaware of the beating of inmate Only Al-Khidir. Gaston
said he recently learned of the incident after a former jailer confessed to
kicking the inmate in the face and another who witnessed the assault
admitted changing his report, claiming Gaston told him to change it
because his first report "wasn't false enough."

The video showed two people visiting the inmate's bedside after the
assault. Special Agent Joel Wallace of the Mississippi Bureau of
investigation identified the visitors as Gaston and former Capt. Steve
Campbell, who ran the sheriffs professional standards unit. Al-Khidir is the
inmate whose booking picture, shown at trial, showed a bloody, swollen
face and hair askew.

Gaston maintained his composure as he left the federal courthouse
Wednesday. He and co-defendant Ryan Teel, a former officer in charge of
the booking room, return to court at 10 a.m. today for closing arguments.
U.S. District Judge Louis Guirola Jr. will then tum the case over to the jury.
Gaston, 52, and Teel, 30, have maintained their innocence on a five-count
indictment alleging they conspired with others, under color of law, to violate

inmates tights with intimidatior-and punishment through unnecessary,

excessive force. Their indictments came after the beating death of inmate
Jessie Lee Williams Jr. on Feb. 4, 2006, prompted a state investigation
joined by the federal government.

Both defendants are accused on the conspiracy count. Teel, who testified
Monday, is accused on three other counts that involve attempting to kill
Williams, covering up the attempt with false reports and statements, and
assaulting inmate Michelle "Chelle" Abrams with Gaston on Aug. 9, 2005.
Gaston also is charged with the Oct. 10, 2003, assault of inmate Timothy
Oliver. Former Baldwin County, Ala., corrections officers who went to the
Harrison County jail in Gulfport to extradite Oliver testified at trial that
Gaston assaulted the inmate and they were prepared to break through the
back jail gate to escape with their prisoner when someone finally opened
the gate to let them leave.

“Timothy Oliver had AIDS," Gaston said emphatically Wednesday,
testifying he and Oliver fought after Oliver spat on him. Gaston also said
the incident with Abrams began after she spat on him. Others testified
Oliver and Abrams have a history of resisting arrest and fighting officers.
Gaston described Abrams as a large, “unbalanced” woman who "can whip
your ass” and was "extremely loud and disruptive" when taken into custody.
Contrary to testimony from others, Gaston claimed the inmates were

hito://www.sunherald.com/3 88/v-pnnt/story/121441 html 3/5/2009
kn .
i “Case 1:07 ODOR TC REIN = Secument 346-4 Filed 04/01/10 Page 25 dg 2 of 2

combative and he used an appropriate level of force to bring them under
control.

Federal trial attorneys Lisa Krigsten and John Cotton Richmond have said
Teel set the tone for a pattern of abuse at the jail and Gaston "led the
charge."

Krigsten called it "a culture of violence."

Gaston described his job as promoting "a culture of efficiency.”

Gaston portrayed himself as a "hands-on" supervisor who worked "elbow to
elbow" with booking officers while other jail supervisors sat in offices
reviewing reports. He said he loved his job and tried to teach the young
officers the most efficient ways to handle their jobs safely so he could retire
one day and leave booking in their hands.

"| told them to remember that everybody who comes to jail is not a bad
person," Gaston said.

Lead defense attorney John Weber questioned Gaston on accusations
Gaston also abused inmates and encouraged booking officers to conceal
inmate abuse by not striking inmates in front of surveillance cameras.
Gaston said he was the one who helped place the cameras in the booking
area and he often reminded officers their actions could be recorded at any
time.

Gaston blamed problems at the jail on internal strife and a lack of
leadership. He refuted one former officer's claim she had complained to
Gaston of abuse "10-plus times," to no avail.

Gaston said he didn't always receive use-of-force reports and officers’
narratives. He accused then-warden Maj. Diane Gatson-Riley of hoarding
reports he'd never seen and pulling them out at a meeting "to make me
look bad."

Sheriff George H. Payne Jr. rehired him in 2000 because Gatson-Riley was
just an office person and was unable to prevent escapes.

Prosecutors said Gaston helped set policies and mentioned a meeting on
April 20, 2005, in which senior jail officials warned booking officers to stop
mistreating inmates. Prosecutors said Gaston should have known then of
abuse complaints.

Gaston said he wasn't allowed to speak at the meeting and assumed the
sheriffs professional standards unit would handle any incidents involving
abuse complaints,

WEB

http://www.sunherald.com/388/v-print/story/121441 html 3/5/2009
SunHerald.@gse Hoonanjatle2Obepia ftisbW timBocument 346-4 Filed 04/01/10 Page 26 Ope Be 1 of 1

| i Text Size: @ |
=a)

Posted on Mon, Jan, 14, 2008

Former jailers begin prison time

By ROBIN FITZGERALD

Eight former jailers must report to a federal prison today on guilty pleas to
conspiring to deprive the civil rights of inmates.

Their penalties range from 18 months to four years. One Jailer, who quit his
job in disgust, received no prison time. The former officers were sentenced
Nov. 5 and 6 before U.S. District Judge Louis Guirola ur.

Each must report to a designated federal! prison by noon today. Most of
them faced up to 10 years behind bars. In the end, the judge followed
federal prosecutors’ recommendations for leniency for cooperating with the
investigation.

Another ex-jailer, Ryan Teel, began serving time last month at a federal
prison in Atlanta. He was convicted on charges including the murder of
inmate Jessie Lee Williams Jr. in February 2006.

The Federal Bureau of Prisons advises against making inmates' designated
location public until they've reached their destination safely.

A law enforcement background is one of the factors the prison system
considers when deciding where to place an inmate, said Felicia Ponce of

the bureau's public affairs office in Washington.

The Bureau of Prisons tries to place inmates within 500 miles of their home
to maintain family and community ties, said Ponce, "but sometimes that
can't happen.”

"Hf at any time they feel they are unsafe in the general population, steps are
taken to place them in the special housing unit," Ponce said.

The penalties

The 10 ex-jailers sentenced in a conspiracy to deprive inmates' rights under
color of law will be on probation after serving their time.

The former officers and the time to serve:

Ryan Teel: Two life prison sentences plus 20 years for convictions
including the murder of detainee Jessie Lee Williams Jr.

Regina Rhodes: 18 months as the first to plead guilty on accusations
including her role in the fatal inmate beating.

Morgan Thompson: 48 months, helped restrain Williams’ for an unjustified
beating.

Preston Wills: 41 months.

Daniel Evans: 36 months.

Brodrick Fulton: 33 months.

Dedri Caldwell: 24 months.

Jeffrey Priest: 21 months.

Karle Stolze: 15 months.

Timothy Moore: 4 months of house arrest,

http://Awww.sunherald.com/388/v-print/story/297113.html 3/3/2009
